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                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA


  RICHARD GLOSSIP, et al.,

                                  Plaintiffs,

  v.                                                          No:     14-cv-665-F


  RANDY CHANDLER, et al.,

                                  Defendants.


              DEFENDANTS’ RESPONSE TO MOTION TO COMPEL

       Plaintiffs were apparently too eager for a discovery fight to notice that Defendants

already provided everything Defendants possess. Subject to certain objections, Defendants

produced all responsive material within their custody on or before February 11, 2022. Any

order to compel would provide Plaintiffs no relief because they received all responsive material

Defendants have. Accordingly, the motion (Doc. 611) was moot before it was filed, and it

should be dismissed as moot.

       I.      Background

       Before addressing the motion, the Court should be aware of a few key details omitted

from Plaintiff’s motion.

       First, all parties reached an agreement on the preservation order a couple of days before

the John Grant execution on the express stipulation that any preservation order “is not an

agreement that such things will be produced or disclosed.” Ex. 1, 10/26/2021 E-mail Chain,
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at 2. Plaintiffs accepted those terms on October 26, subject to certain remaining issues to

discuss. See id. at 1. The agreement also specified that the Preservation Order was only

addressing what “Defendants will agree to,” and that any implications for other state entities

were merely “in cooperation with” them because Defendants do not control them. Thus,

contrary to implications in Plaintiffs’ motion, inclusion in the preservation order is not a

determination of relevance or discoverability, let alone relevance or discoverability of material

possessed by non-parties, as the parties stipulated.

       Second, contrary to Plaintiffs’ representations in their motion, Defendants did file a

series of objections to their requests for production of execution documents, including the

one noted above. As further relevant here, Defendants’ general objection number 5 was as

follows:

       Defendants will produce responsive documents only to the extent that such
       documents are in the possession, custody, or control of the Defendants, as set
       forth in the Federal Rules of Civil Procedure. Defendants’ possession, custody,
       or control does not include any constructive possession that may be conferred
       by Defendants’ right or power to compel the production of documents or
       information from third parties or to request their production from other
       agencies.
Ex. 2, Defendants’ Responses to Plaintiffs’ Post-Discovery Requests for Production of

Documents, Dec. 06, 2021, at 2. In addition, Defendants’ general objection number 12 was as

follows:

       Defendants object to the Plaintiffs’ request for information in the control of
       other Oklahoma agencies beyond the agencies where the Defendants are
       employed.

Id. at 3. In response to Plaintiffs’ particular request for everything listed in the preservation

order, Defendants offered the following specific objections:


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       [T]he Preservation Order far exceeds the scope of relevant material. A response
       premised on that Order would be unduly burdensome and disproportionate to
       the needs of the case.

Id. at 6. Then, Defendants stated that they would provide a rolling production of responsive

documents subject to their objections. Id.

       Third, Plaintiffs omitted the response to their Exhibits 1 and 2. See Ex. 3. That response

is relevant because it notes that Defendants are continuing a rolling production subject to their

asserted objections. See id. Plaintiffs cannot in good faith claim they are surprised now by

objections that were asserted over two months ago and reasserted in response to their requests

for further production.

       Fourth, the order on preserving evidence does not compel anything regarding the

Medical Examiner. Contra Doc. 611 at 9. To start, the parties agreed that only Defendants were

party to the order. See Ex. 1. Furthermore, while Plaintiffs may have sought a motion affecting

non-parties, the order that all parties agreed on only directed Defendants to preserve evidence.

See Doc. 541 at 1. It even excepts evidence sent to the Medical Examiner from the scope of

the order. See id. (Part I.1.) The only issue that the order memorializes is permission to attend

the Medical Examiner’s autopsy, see Doc. 541 at 4, which the Medical Examiner did not retain

counsel to contest (even though he is not a party). His interest in being cooperative with the

parties to avoid participation in this litigation—an interest memorialized in the spirit of

cooperation discussed between counsel in October—does not convert Defendants’ counsel

into his counsel or otherwise restructure state agencies to subject the Medical Examiner to

Defendants’ control.




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       Fifth, Defendants have called and asked the Medical Examiner’s office if they would

share the documents that Plaintiffs want, and the Medical Examiner has continued in his spirit

of being cooperative with the parties. The Medical Examiner’s office has voluntarily complied

so far, and Defendants have not issued a subpoena for the information. Defendants believe

most of it is irrelevant anyway, as their objections indicate, but have kept the informal

arrangement going in the spirit of good faith with the Plaintiffs and the non-party Medical

Examiner’s office.

       II.      Response to Motion

       With the background above, it is unclear to Defendants what Plaintiffs seek by this

motion. They received everything in Defendants’ custody on February 11, as they requested,

and as they admit in their motion in a footnote. See Doc 611 at 4 n.2. Indeed, since John

Grant’s execution, Defendants have voluntarily produced to Defendants around 4,672 pages

of documents. The accusations of lacking objections or failing to produce documents are

untrue, and the remaining material sought is not within Defendants’ control. Some of it does

not even exist: Defendants do not have material for an execution that has not happened

(Postelle). The fact that Plaintiffs had demanded Defendants produce documents and autopsy

results from an execution that has not occurred yet demonstrates their unreasonableness. See

Doc. 611-4.

       As explained to Plaintiffs, the John Grant autopsy, which includes results received from

a separate toxicology laboratory, took approximately three months to complete. See Doc. 611-

4. That much time has not yet elapsed since the Stouffer execution, much less the Donald

Grant execution a few weeks ago, nor do Defendants have the statutory authority to rush the


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Medical Examiner or force him to take steps that might compromise a careful autopsy

investigation. But Defendants have always been willing—as they have done with the John

Grant autopsy—to produce to Plaintiffs the Medical Examiners report when it is received.

       At best, it appears Plaintiffs want Defendants to subpoena the Medical Examiner for

documents sought. It is unclear why they have not issued that subpoena themselves. And it is

wholly unclear that a subpoena could compel the Medical Examiner to prepare documents he

and his staff have not yet written and then produce them, regardless of whether Plaintiffs or

Defendants issue the subpoena.

       III.    Conclusion

       Subject to certain objections, Defendants have already produced all responsive material

they possess on or before February 11, as Plaintiffs requested. The only documents Plaintiffs

still seek either do not exist or are solely with a third party, and there is nothing left to compel.

This Court should dismiss the motion as moot.

                                                        Respectfully submitted,

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